              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                          Plaintiff,     )
                                         )
        vs.                              )     No. 13-05036-11-CR-SW-GAF
                                         )
JOSE ARMANDO PUENTE,                     )
                                         )
                          Defendant.     )


                          REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One of the Superseding Indictment

filed on June 11, 2014.      After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowledgeable and voluntary, and

that the offense charged is supported by a factual basis for each

of the essential elements of the offense.      I therefore recommend that

the plea of guilty be accepted and that the Defendant be adjudged

guilty and have sentence imposed accordingly.



Date:     July 22, 2014                   /s/ James C. England
                                         JAMES C. ENGLAND
                                         UNITED STATES MAGISTRATE JUDGE




    Case 3:13-cr-05036-MDH     Document 407   Filed 07/22/14   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




                                   2



    Case 3:13-cr-05036-MDH   Document 407   Filed 07/22/14   Page 2 of 2
